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  1   MAYER BROWN LLP
  2   JOHN NADOLENCO (SBN 181128)
      jnadolenco@mayerbrown.com
  3   DANIEL QUEEN (SBN 292275)
  4   dqueen@mayerbrown.com
      350 South Grand Avenue, 25th Floor
  5   Los Angeles, California 90071-1503
  6   Telephone: (213) 229-9500
      Facsimile: (213) 625-0248
  7
  8   HOGAN LOVELLS US LLP
      TOM BOER (SBN 199563)
  9   tom.boer@hoganlovells.com
 10   3 Embarcadero Center, Suite 1500
      San Francisco, CA 94111
 11   Telephone: (415) 374-2300
 12   Facsimile: (415) 374-2499
 13   Attorneys for Defendant
      3M Company
 14
 15                        UNITED STATES DISTRICT COURT

 16                      CENTRAL DISTRICT OF CALIFORNIA

 17                                 SOUTHERN DIVISION

 18   Orange County Water District, City of              Case No. 8:21-cv-01029
 19   Anaheim, East Orange County Water District,
      City of Fullerton, City of Garden Grove, Irvine    CERTIFICATE OF
 20   Ranch Water District, City of Orange, City of      SERVICE
 21   Santa Ana, Serrano Water District, City of
      Tustin, and Yorba Linda Water District,
 22
                      Plaintiffs,
 23
            vs.
 24
      3M Company, E.I. Du Pont De Nemours &
 25   Company, The Chemours Company, Corteva,
      Inc., DuPont de Nemours, Inc., Decra Roofing
 26
      Systems, Inc., and Doe Defendants 1-100
 27   inclusive,
 28                   Defendants.


                                               CERTIFICATE OF SERVICE; CASE NO. 8:21-CV-01029
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  1                            CERTIFICATE OF SERVICE
  2         I, Jenny Lee, declare:
  3         I am employed in Los Angeles County, California. I am over the age of
  4   eighteen years and not a party to the within-entitled action. My business address is
  5   Mayer Brown LLP, 350 South Grand Avenue, 25th Floor, Los Angeles, California
  6   90071-1503. On June 11, 2021, I served a copy of the within document(s):
  7         NOTICE OF REMOVAL;
  8         DECLARATION OF DANIEL QUEEN IN SUPPORT OF DEFENDANT
            3M’S NOTICE OF REMOVAL;
  9
            CIVIL COVER SHEET;
 10
            NOTICE OF RELATED CASES (L.R. 83-1.3.1);
 11
            DEFENDANT 3M COMPANY’S NOTICE OF INTERESTED PARTIES
 12         PURSUANT TO L.R. 7.1-1 AND CORPORATE DISCLOSURE
            STATEMENT PURSUANT TO FED. R. CIV. P. 7.1
 13
                 by placing the document(s) listed above in a sealed UPS envelope and
 14       ☒      affixing a pre-paid air bill, and causing the envelope to be delivered to a
                 UPS agent for delivery to the addresses set forth below.
 15              by transmitting via e-mail or electronic transmission the document(s)
          ☒      listed above to the person(s) at the e-mail address(es) set forth below.
 16
 17     Alexander I. Leff                          Daniel S. Robinson
 18     Kenneth A. Sansone                         Michael W. Olsen
        Seth D. Mansergh                           Robinson Calcagnie, Inc.
 19     SL Environmental Law Group, PC             19 Corporate Plaza Drive
 20     175 Chestnut Street                        Newport Beach, CA 92660
        San Francisco, CA 94133                    Tel: (949) 720-1288
 21     Tel: (415) 348-8300                        Fax: (949) 720-1292
 22     Fax: (415) 348-8333                        drobinson@robinsonfirm.com
        aleff@slenvironment.com                    molson@robinsonfirm.com
 23     ksansone@slenvironment.com                 Attorneys for Plaintiffs
 24     smansergh@slenvironment.com
        Attorneys for Plaintiffs
 25
 26
 27
 28

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                                                CERTIFICATE OF SERVICE; CASE NO. 8:21-CV-01029
Case 8:21-cv-01029-SVW-AS Document 6 Filed 06/11/21 Page 3 of 5 Page ID #:2064



  1     Andrew W. Homer                          Gregory R. Jones
  2     Kelley Drye & Warren LLP                 Kevin Kim
        7825 Fay Avenue, Suite 200               McDermott Will & Emery LLP
  3     La Jolla, CA 92037                       2049 Century Park East, Suite 3200
  4     Tel: (858) 795-0426                      Los Angeles, CA 90067
        ahomer@kelleydrye.com                    Tel: (310) 277-4110
  5     Attorneys for Plaintiffs                 Fax: (310) 277-4730
  6                                              gjones@mwe.com
                                                 kevinkim@mwe.com
  7                                              Attorneys for Defendant Decra
  8                                              Roofing Systems, Inc.
  9     Christopher M. Murphy                    Jacob Hollinger
 10     McDermott Will & Emery LLP               McDermott Will & Emery LLP
        444 West Lake Street                     340 Madison Avenue
 11     Chicago, IL 60606-0029                   New York, NY 10173-1922
 12     cmurphy@mwe.com                          jhollinger@mwe.com
        Tel: (312) 372-2000                      Tel: (212) 547-5400
 13     Fax: (312) 984-7700                      Fax: (212) 547-5444
 14     Attorneys for Defendant Decra            Attorneys for Defendant Decra
        Roofing Systems, Inc.                    Roofing Systems, Inc.
 15
 16     Andrew T. Mortl                          Lanny S. Kurzweil
 17     Adam M. Rapp                             McCarter & English LLP
        Glynn & Finley LLP                       Four Gateway Center
 18     100 Pringle Ave #500                     100 Mulberry St.
 19     Walnut Creek, CA 94596                   Newark, NJ 07102
        Tel: (925) 210-2800                      Tel: (973) 622-4444
 20
        Fax: (925) 945-1975                      Fax: (973) 624-7070
 21     amortl@glynnfinley.com                   lkurzweil@mccarter.com
        arapp@glynnfinley.com                    Attorneys for Defendants E.I. Du
 22
        Attorneys for Defendants E.I. Du         Pont De Nemours and Company and
 23     Pont De Nemours and Company and          The Chemours Company (as to all
        The Chemours Company (as to all          claims except COA 14-17)
 24
        claims except COA 14-17)
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                                            CERTIFICATE OF SERVICE; CASE NO. 8:21-CV-01029
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  1     John J. McAleese III                      Katherine L.I. Hacker
  2     McCarter & English LLP                    John S. Phillips
        1600 Market Street, Suite 3900            Bartlit Beck LLP
  3     Philadelphia, PA 19103                    1801 Wewatta Street, Suite 1200
  4     Tel: (215) 979-3800                       Denver, CO 80202
        Fax: (215) 979-3899                       Tel: (303) 592-3100
  5     jmcaleese@mccarter.com                    Fax: (303) 592-3140
  6     Attorneys for Defendants E.I. Du          kat.hacker@bartlitbeck.com
        Pont De Nemours and Company and           john.phillips@bartlitbeck.com
  7     The Chemours Company (as to all           Attorneys for Defendants E.I. Du
  8     claims except COA 14-17)                  Pont De Nemours and Company (as
                                                  to COA 14-17) and Dupont de
  9                                               Nemours, Inc.
 10
        Katharine A. Roin                         Paul D. Murphy
 11     Bartlit Beck LLP                          Murphy Rosen LLP
 12     54 West Hubbard Street                    100 Wilshire Blvd., Suite 1300
        Chicago, IL 60654                         Santa Monica, CA 90401
 13     Tel: (312) 494-4400                       Tel: (310) 899-3300
 14     Fax: (312) 494-4440                       Fax: (310) 399-7201
        kate.roin@bartlitbeck.com                 pmurphy@murphyrosen.com
 15     Attorneys for Defendants E.I. Du          Attorneys for Defendants E.I. Du
 16     Pont De Nemours and Company (as           Pont De Nemours and Company
        to COA 14-17) and Dupont de               Attorneys for Defendants E.I. Du
 17     Nemours, Inc.                             Pont De Nemours and Company (as
 18                                               to COA 14-17) and Dupont de
                                                  Nemours, Inc., Corteva, Inc., and
 19                                               Dupont de Nemours, Inc.
 20
        E. Alex Beroukhim
 21     Arnold & Porter Kaye Scholer LLP
        777 South Figueroa Street, 44th Floor
 22
        Los Angeles, CA 90017-5844
 23     Tel: (213) 243-4000
        Fax: (213) 243-4199
 24
        alex.beroukhim@arnoldporter.com
 25     Attorneys for Defendant The
        Chemours Company (as to COA 14-
 26
        15)
 27
 28

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                                                CERTIFICATE OF SERVICE; CASE NO. 8:21-CV-01029
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  1
  2         I declare under penalty of perjury under the laws of the United States of
  3   America that the above is true and correct.
  4         Executed on June 11, 2021, at Los Angeles, California.
  5
  6                                                 ___________________________
  7                                                      Jenny Lee
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                                               CERTIFICATE OF SERVICE; CASE NO. 8:21-CV-01029
